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                    EXHIBIT A
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Honorable P. Kevin Castel
United States District Court
For the Southern District of New York

United States v. Virgil Griffith
20-CR-15 (PKC)

Dear Judge Castel,
I am Virgil Griffith’s mother. Thank you for this opportunity to express my thoughts about this episode in
my son’s life. When Virgil first mentioned the idea of going to North Korea, I strongly tried to discourage
him, as I was of course worried about his safety, as well as possible repercussions if he went without
official permission. However he could not be dissuaded. After he was arrested and released to home
detention, we had many opportunities to talk about his decision. He realizes it was a foolish and
unnecessary risk to take. I have been pleased to see his attitude change, and he has expressed a desire
to lead a more quiet life. I was also pleased to see him extend himself to other people that he met while
in detention, especially those who were going through trials of their own. He helped us work with the
children at church, taking special notice of those who were “different “. He befriended a young
homeless man he met and helped him sign up for the GED , helped him negotiate the maze of
benevolent services, and gave him several loans. Everywhere he went, he would come back with the
personal histories of the service people he encountered. He helped me care for my aged mother, who
died at my home while he was with us. He has become a genuinely kind and generous person. I hope
that you will see that he is remorseful for his actions, and consider a lenient sentence.

Sincerely,
Susan Griffith
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Honorable P. Kevin Castel United States District Court for
the Southern District of New York

Re: United States v. Virgil Griffith 20-CR-15 (PKC)

Dear Judge Castel,

I am Virgil’s father. I am also a Dermatologist practicing in Tuscaloosa, Alabama for 32 years. On a civic
level, I am currently an inactive elder of Grace Church Tuscaloosa,
https://www.gracechurchtuscaloosa.com/, and recently promoted to Chairman of the Board for
Elevate USA, a national non-profit that builds life-changing mentoring relationships with over 10,000
urban youth, https://elevatetheusa.org/. For FY 2021, The US Dept of Justice awarded Elevate a $1.7
million Mentoring grant to expand its redemptive work in 100 schools across 14 cities in America,
https://ojjdp.ojp.gov/funding/awards/list.

Virgil is the most remorseful that I have ever seen. He knows that he has failed so many, including his
industry, his friends, and his family, with his poorly conceived actions. Since this case began, he has
changed dramatically for the better. I know he will never do anything like what he’s done here again.

During the 18 months of home detention at our house, Virgil spent time with various homeless
individuals and assisted teaching the fourth grade class at church on Wednesday night. He sought to
assist various people with his counsel, judicious asset injection and friendship. He has an empathic heart
for many unfortunate individuals, who have not had the educational opportunities that he has been
able to pursue, by assisting them to obtain their GED and vocational opportunity. While on home
detention, his active mind also continued to expand his foreign language skills and he read extensively. I
am confident that this episode in his life has produced a man who more fully appreciates his need for
community and outside influence to discover the wisest path forward. The fear of the Lord is the
beginning of wisdom in my world view. Virgil has also been reading soul searching books during his
imprisonment and engaging me in deep discussions. I believe that he is much softer to a spiritual reality
and that will be one of the many things that help him going forward.

I hope and pray that the Court gives him the most lenient sentence that the Court finds appropriate.

Sincerely,

Robert Griffith
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